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            8
            9                          UNITED STATES DISTRICT COURT
          10                         CENTRAL DISTRICT OF CALIFORNIA
          11                                    WESTERN DIVISION
          12     Oscar Enrique Nuñez Euceda                 CASE NO. 2:20-cv-10793-VAP-(GJSx)
          13                       Plaintiff,               DECLARATION OF ABIEL GARCIA
                                                            IN SUPPORT OF JOINT
          14           v.                                   STIPULATION TO EXTEND
                                                            ABEYANCE OF ACTION
          15     United States of America,
          16                       Defendant.
          17
                                                            Honorable Virginia A. Phillips
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Crutcher LLP                                            1
                                                GARCIA DECLARATION
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            1          I, Abiel Garcia, submit this declaration in support of the parties’ joint stipulation
            2    to extend abeyance of action. I make this declaration based on my personal
            3    knowledge. If called as a witness, I could and would testify competently to these facts.
            4          1.     Plaintiff Oscar Euceda filed his Complaint on November 25, 2020.
            5          2.     On May 13, 2021, the parties filed a joint stipulation requesting to hold
            6    this action in abeyance in order to pursue a potential settlement. (Dkt. No. 22).
            7          3.     The Court granted the joint stipulation, ordering a 60 day abeyance and
            8    requesting a status update by July 12, 2021. (Dkt. No. 24).
            9          4.     Mr. Euceda, through coordinating plaintiffs’ counsel, and the United
          10     States are continuing to engage in a nationwide effort to settle district court cases and
          11     pending administrative tort claims arising from family separations at the U.S./Mexico
          12     border that occurred during the prior administration.
          13           5.     While significant progress has been made, due to the scale and number of
          14     cases, as well as the complexity of the effort, additional time is needed to achieve a
          15     global resolution of these matters.
          16           6.     A sixty (60) day extension will allow Mr. Euceda and the United States to
          17     focus on a resolution for this matter and will not prejudice either party.
          18           I declare under penalty of perjury under the laws of the United States of America
          19     that the forgoing is true and correct.
          20           Executed this 8th day of July, 2021, in Los Angeles, California.
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          24     Dated: July 8, 2021                              /s Abiel Garcia

          25                                              Abiel Garcia
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Crutcher LLP                                                  2
                                                  GARCIA DECLARATION
